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                                                                              2021 Oct-19 PM 01:45
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION

LANITRA JETER,                         )
                                       )
              Plaintiff,               )
                                       )
v.                                     ) Case No. 2:20-CV-01863-ACA
                                       )
JEFFERSON COUNTY,                      )
ALABAMA,                               )
                                       )
              Defendant.               )

               JOINT MOTION TO SUBSTITUTE PARTY

       COME NOW the parties and hereby jointly move to substitute Danny

Carr, in his official capacity as District Attorney of Jefferson County, as the

party-defendant in this matter. This is an employment discrimination and

retaliation case and the Third Amended Complaint [Doc. 61] names

Jefferson County, Alabama as the defendant. The parties jointly request that

the Court remove Jefferson County, Alabama as the defendant and substitute

Danny Carr, in his official capacity as District Attorney of Jefferson County,

in lieu thereof.

                                Respectfully submitted,


                                /s/ Artur Davis
                                Artur Davis
                                Brian O. Noble
                                Attorneys for the Plaintiff

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                        /s/ James E. Murrill, Jr.
                        Robert R. Riley, Jr.
                        James E. Murrill, Jr.
                        Attorneys for the Defendant




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